         Case 1:14-cv-02657-DLC Document 513 Filed 06/19/18 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


ERIC MICHAEL ROSEMAN, et al.,
individually and on behalf of others similarly
situated,
                                                              Case No. 14 CV 2657 (DLC)
               Plaintiffs,

               v.

BLOOMBERG L.P.,

               Defendant.


     NOTICE OF JOINT MOTION FOR PRELIMINARY APPROVAL OF CLASS
    SETTLEMENT AND APPROVAL OF PROPOSED NOTICE OF SETTLEMENT

       For the reasons set forth in the Parties’ Memorandum of Law in Support of the Joint

Motion for Preliminary Approval of Class Settlement and Approval of Proposed Notice of

Settlement; Plaintiffs’ Supplemental Memorandum in Support of Preliminary Approval of Class

Counsel’s Fees and Costs; Plaintiffs’ Supplemental Memorandum in Support of Preliminary

Approval of Service Awards; and in the Declaration of Dan Getman and supporting documents,

the Parties respectfully request that the Court enter an Order:

            1. Granting the Parties’ request to include all Class Members, with the exception of

                Opt-Outs, as Qualified Class Members subject to the terms of the Settlement

                Agreement;

            2. Granting preliminary approval of the Settlement as memorialized in the Parties’

                Settlement Agreement, attached as Exhibit 1 to the Declaration of Dan Getman

                in support of this motion and entering the Preliminary Approval Order, in the

                form attached as Exhibit C to the Settlement Agreement;



                                                 1
        Case 1:14-cv-02657-DLC Document 513 Filed 06/19/18 Page 2 of 3




           3. Scheduling the Final Fairness Hearing, which, because of the timing

               requirements in the Class Action Fairness Act (“CAFA”) and the settlement

               administration schedule agreed to by the Parties in the Agreement, must be no

               earlier than 120 days from the date of this Motion;

           4. Approving the Settlement Forms, attached as Exhibits A and B to the Settlement

               Agreement, and manner of notice;

           5. Approving Settlement Services, Inc. (“SSI”) as Settlement Administrator; and

           6. Approving Make the Road New York and The Consortium for Worker

               Education as the cy pres recipients.

   The Parties have contemporaneously submitted a Proposed Order, attached to the Settlement

Agreement as Exhibit C, for the Court’s convenience.



Dated: June 19, 2018


                                                      Respectfully Submitted,

                                                      /s/    Dan Getman
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                                               2
Case 1:14-cv-02657-DLC Document 513 Filed 06/19/18 Page 3 of 3




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                              3
